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                                UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                      COVINGTON DIVISION

       IN RE                                                                         CASE NO. 17-20965

       CHRISTOPHER LEE HIGHLANDER
       LISA CAROL HIGHLANDER

       DEBTOR(S)

       CHRISTOPHER LEE HIGHLANDER                                                         PLAINTIFF(S)
       LISA CAROL HIGHLANDER
                                                                                      ADV. NO. 17-2026
       V.
                                                                                        DEFENDANT(S)
       RENT-2-OWN COMPANY, et al.

                                                    ORDER

               The Court having considered the complaint filed herein, and it appearing to the Court that
       said complaint is deficient as follows:
                   The complaint is not accompanied by the required filing fee

                   The trustee has not made an Application to Delay Payment of the Filing Fee


                   A defendant listed in the styling is not the same as identified in the body of
                   the complaint.

                   The styling does not reflect all of the defendants named in the
                   complaint

                   The complaint does not contain an adversary styling


               IT IS THEREFORE ORDERED that the Clerk may withhold issuance of summons on
       the complaint until such time as an Amended Complaint has been filed correcting the deficiency
       or until the filing fee has been paid or proper application made.




__________________________________________________________________________________________
The affixing of this Court's electronic seal below is proof this document has been signed by the Judge and
electronically entered by the Clerk in the official record of this case.



                                                       Signed By:
                                                       Tracey N. Wise
                                                       Bankruptcy Judge
                                                       Dated: Thursday, December 28, 2017
                                                       (tnw)
